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IN THE UNITED STATES DISTRICT couRT Miethe? OF Patras
' FOR THE DISTRICT OF MARYLAND 2017 APR 26 PM 12: 59
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UNITED STATES OF AMERICA * for
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Vv. * Criminal No. WMN-090=467-—---- DA PUTY
* Civil Action No. WMN-16-2461 ,
TERRELL ROGERS *
*
*
* * * * * * * * * * * * * * *
MEMORANDUM

After a seven day jury trial, Petitioner Terrell Rogers was
convicted on June 9, 2010, of Possession of a Firearm by a
Convicted Felon, in violation of 18 U.S.C. § 922(g) (1);
Possession with Intent to Distribute Cocaine Base, in violation
of 21 U.S.C. § 841; and Conspiracy to Engage in Witness
Tampering, in violation of 18 U.S.C. § 1512(k). Petitioner was
then sentenced on December 2, 2010, to a term of 292 months
imprisonment. On December 7, 2011, Petitioner’s conviction and
sentence were affirmed by the Fourth Circuit Court of Appeals.
ECF No. 128. The Supreme Court denied Petitioner’s petition for
writ of certiorari on March 19, 2012.

On February 6, 2013, Petitioner filed a timely Motion to
Vacate, Set Aside, or Correct a Sentence pursuant to 28 U.S.C. §
2255. ECF No. 130. The Court issued a Memorandum and Order
denying that motion on October 22, 2013. ECF Nos. 139 and 140.

Petitioner filed a subsequent Motion to Vacate on April 7, 2014,

 
 

 

 

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ECF No. 146, which the Court found to be procedurally barred as
a successive petition and dismissed that motion on August 6,
2014. ECF No. 151. Petitioner appealed that dismissal on
August 21, 2014, ECF No. 152, and the Fourth Circuit again
affirmed the judgment of this Court on December 19, 2014. ECF
No. 155.

On May 6, 2016, the Fourth Circuit issued an order granting
authorization for Petitioner to file a successive § 2255 motion
after concluding that Petitioner had made a prima facie showing
that the new rule of constitutional law announced in Johnson v.
United States, 135 S. Ct. 2551 (2015), and held to apply
retroactively to cases on collateral review by Welch v. United
States, 136 S. Ct. 1257 (2016), might apply to his case.
Petitioner then filed a third § 2255 motion in this Court on
June 30, 2016. ECF No. 166. As the single ground for his
motion, Petitioner asserted that the Supreme Court mandate in
Johnson entitled him to relief from the Armed Career Criminal
Designation: “It is [Petitioner’s] position that his prior
convictions are non-qualifying crimes for the purpose of the
Armed Career Criminal Act.” Id. at 4.

In Johnson, the Supreme Court invalidated the “residual
clause” that was included in the definition of “violent felony
in the Armed Career Criminal Act (ACCA), concluding that it was

unconstitutionally vague. 135 S. Ct. at 2558. As the

 
 

 

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Government points out in its Opposition to Petitioner’s motion,
Petitioner was not sentenced as an armed career criminal under
the ACCA. ECF No. 170 at 3. His sentence was determined,
instead, pursuant to United States Sentencing Guideline § 2A2.1.
See Dec. 2, 2010, Tr. at 40-44. Accordingly, Johnson has no
relevance to Petitioner’s sentence.

The Government also notes that, even if Petitioner had been
sentenced as an armed career criminal, he still has three prior
qualifying serious drug convictions that would not be impacted
by Johnson. Thus, post-Johnson, he would still qualify as an
armed career criminal. See Presentence Report at 991 66, 68, 71.

Petitioner filed a 35-page “Opposition to Government’s
Response to 28 U.S.C. § 2255 Motion to Amend/Supplement Rule
15(c) (1) (B) 2255 Federal Habeas Corpus Proceedings” in response
to the Government’s Opposition. ECF No. 178.1 In that
submission, Petitioner never directly addresses the Government’s
argument that Johnson has no impact on the constitutionality of
his sentence. Instead, he requests that he be allowed to
supplement his § 2255 motion with “(3) additional

Issues/Grounds: (1) Ineffective Assistance of Counsel. (2)

 

' Much of that submission is simply broiler plate language

reciting legal standard for various § 2255 challenges that do
not relate to current motion. Parts appear to have been simply
pasted from another petitioner’s pleading. Id. at 21 (referring
to the filing of an application for authorization to file a
successive petition by a “Mr. Clayton”).

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Violation of This Petitioner[‘s] Constitutional Right to Due
Process. (3) Illegal Enhancements and Sentence.” Id. at 1. In
presenting one aspect of his trial counsel’s performance that he
alleges was ineffective, Petitioner actually acknowledges that
he was not sentenced as an armed career criminal. He declares,
“ [during the sentencing phase, the issue of whether Petitioner
waS an armed career criminal was tossed around only to be
overruled by the Prosecution’s ,leather eating request that
Petitioner be sentenced pursuant to the provisions of § 2A1.2,
and the Court agreed.”

The merits of many of these “additional Issues/Grounds”
have been addressed in response to either the initial appeal or
Petitioner’s previous § 2255 motions. Regardless, they are not
properly asserted in this motion... The Fourth Circuit authorized
Petitioner to file a second or successive § 2255 motion to bring
claims based on Johnson. While the Fourth Circuit has held that
petitioners can amend an authorized § 2255 motion to bring
additional claims beyond the claim that generated that
authorization, the addition of those claims must satisfy Rule

15(a) and then § 2255(h). United States v. McDonald, 641 F.3d

 

596, 615-616 (4th Cir. 2011).
Here, Petitioner’s Motion to Amend/Supplement was not

timely under Rule 15(a). Even if it were, the claims do not

satisfy § 2255(h), as none of those claims arise from:

 

 

 

 
 

 

 

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(1) newly discovered evidence that, if proven and

viewed in light of the evidence as a whole, would be

sufficient to establish by clear and convincing

evidence that no reasonable factfinder would have

found the movant guilty of the offense; or

(2) a new rule of constitutional law, made retroactive

to cases on collateral review by the Supreme Court,

that was previously unavailable.

28 U.S.C. § 2255(h). Petitioner’s additional claims rely on)
neither “new facts” nor a “new rule of constitutional law.”

For these reasons, Petitioner’s Motion to Vacate, Set
Aside, or Correct Sentence will be denied. Petitioner’s motion
to amend will also be denied.

In addition, the Court declines to issue a certificate of
appealability. A certificate of appealability may issue only if
petitioner “has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c) (2). The petitioner
“must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims

debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004)

 

(citation and internal quotation marks omitted), or that “the
issues presented are adequate to deserve encouragement to

proceed further,” Miller-El v. Cockrell, 537 U.S. 322, 327

 

(2003). Because Petitioner has not made a substantial showing of

the denial of his constitutional rights, this Court will not

issue a certificate of appealability.

 

 

 
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A separate order will issue.

/s/
William M. Nickerson
Senior United States District Judge

 

DATED: April 24, 2017

 
